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                            U N ITED STA TES D ISTRICT COU RT
                            SOUTHERN DISTRICT OF FLORIDA
                               W EST PM M BEA CH D M SION

  CRIM W AL CASE NO.:22-M J-8332-BER
                                                          -''-'H8R'
                                                                  G :'IJFA=-'ev'r.=>v=         =' .    ...'.7.
  U NITED STA TES OF AM ERICA ,                               FlLE D BY                    .e.              D.C .
        Plaintiff,
                                                                             AIJS 31 2022
                                                                             ANGRLA E:       -.NOBL1   5
                                                                           CLKRK U.        .
                                                                                           S.DIST.CX
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                                                                                            kt
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                                                                                              .-r.-W.
                                                                                                   =-.
                                                                                                 um. R-B.
  SEM ED SEA RCH W A RR AN T,

        Defendant.

  IN 1tE SEALED SEARCH W ARRANT

                         M O VA N T M ICH AEL S.BA R TH
          M OTION TO G TERVENE FOR PURPO SE OF TAK ING AN APPEAL
                       AND SUPPORTING M EM ORANDUM

     1. M ovantM ichaelS.Barth,pro se,respece lly requeststhisCourtgrantthisM otion to

  Interveneto Takean Appealin theabovecaptioned matterUnited StatesofAmericav.Sealed

  SearchW arrant(In ReSealedSearchW arrantl,DistrictCourtCaseNo.9:22-mj-08332;as
  expeditiously aspossibleconsidezing an existing Appealispending beforetheEleventh Circuit

  CourtofAppeals(AppealNllmber22-12791-.
                                       9.IftheM otiontoIntervenetoTakeanAppealis
  so granted,M ovantrespectfullyrequeststhattheCourtliletheaccompanying Notiee ofAppeal

  astimely andconformihgtotheRulesofCourt.AsgrotmdsthereollM ovantstatesasfollows:
        On August8,2022,theDepar% entofJusticeexecuted a search warrantatthepremises

  located at1100 S.Ocean Blvd.,Palm Beach,Florida,33480,aproperty offormerRepublican

  PresidentDonaldJ.Trump.DocketEntry.(D.E.59.)TheUnitedStatesAttorney General
  M enick Garland,stated during apressconferencethathepersonally approveda decision toseek




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  thesearchwarrant.(TranscriptCT.'')PageCT.'';Line:&L*''22.12.)Thesearchwarrantwas
  signed by anon-ArticleII1M agistateon August5,2022.

         Nllm erousnon-partiesfiledm otionsto intervene,including M edianon-partiesand non-

  media-non-parties.m eferencesomitted.)Proposedintezvenorsthatwereallowedtohztervene,
  weregrantedsuch leavewith PaperlessOrders.(Referencesomitted.)
     4. The Governm entconceded andtheCourtrecognized Rthepublic'sdght''to interveneto

  Movetotmsealthewarrantandsupportingdetails.m eferencesomitted.)In doingso,the
  Governmentand theCourtequally recognizesthepublic'srightto appeal,orto intervenefor

  purpose oftaking an appealto unsealthe entire record as llnredacted,asexcessive redacted

  doclim entsasprovidedherebasically istheequivalentofsealed docllments.

         On August12,2022,the Courtunsealed the signed search warrant,thatwerelabeledas

  GW ttachmentsA andB''andtheredactedPropertyList.m eferenceomitted.)
     6. Thism ovantfiled amotion to interveneon August16,2022,to tm sealal1tlzerem aining

  courtrecordstand docllmentsasunredacted),includingtheMagistrate'snotesthatrelatedtoany
  questionsaskedoftheGovernmentbeforetheM agistratesignedthesearch warrant.(D.E.62.)
         Thismovant'smotion tointervenewasdelziedonAugust17,2022.(D.E.64.)The
  DistrictCourt'sPaperlessOrdernoted on theDocketthatçT heinterestsasserted by themovant

  areadequately represented by them edia-intervenors.''referencing In reHorizon OrganicM ilk

  PlusDsz4Omega-3M/cfg.toSalesPrac.Litig.,2014W L 12496734,at*2(S.D.Fla.July 10,
  2014)(citingFed.R.Civ.P.24).
     8. On A ugust18,2022 thism ovantfiled a Rule 72 M otion for a D istrictJudge to R eview an

  OrderofaM agistrateJudge,andforM agiskateJudgeRecusal(D.E.70.)Includedwiththat
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     M otion wasM ovant'sReply tothe Govem m ent'sOmnibusResponsetoM otionsto Unseal.

     (D.E.70-3.)
        9. OralArplm entswereheld on August18,2022,butwaslimitedto only theGovernment

     andmediaintervenors(D.E.73.)
 I
        10.Dudng thoseOralArguments,M ediaIntervenorsconcededtheCourt'sandthe

     Govennm ent'sposition thatM agistrateReinbarthadProbableCauseto issuethesearch warrant.

     (T.P.22.L.18-22)EAlsoadoptedbya1lM edialntervenors.lCotmselfortheMediaIntervenors
     conceded to theCourt'sandtheGovernm ent'sposition to notdisclosingtheG<flovernm ent's

     methods.''(T.P.28.L 12-19.)AtleastoneM ediaIntervenorconsentedtoredactionsofportions
     ofthesealeddocuments.m eferenceomitted.)TheGovenamentaclcnowledgedthattheraidwas
     unprecedented.(T.9.2.)TheGovernmentstatedGtitsinvestigation''oftheformerPresidentwas
     çtveryearly''intheprocess.(T.P.10,L.25.)TheGovernmentaccusedonepoliticalpartyasbeing
     CGmoreviolative''overthesituation.(T.13.15.)TheGovernmenttandtheCourtlstatedthatthe
     M ediamay notbepublishingcorrectinformationaboutthematter.(T.20.15.)(Ironicallypartof
     theProbableCauseAflidavitwasbasedonGGl
                                          MqediaArticles.''(seee.g.,D.E.102-1.)
        11.M ovant'sRule72 M otion wasdenied afterthose OralArplm ents,on August19,2022.

     (D.E.78.)M ovant'smotionforJudgeRecusalwasappazentlynotactedupon.
        12.M ovant'sN oticeofAppealto theEleventh CircuitCourtofAppealswasfled on Augtlst

     22,2022.(D.E.84.).TheU/tedStatesCourtofAppealsfortheEleventh Circuitfiledthis
     M ovant'sAppellantBriefon August23,2022,asin CazeNllmber22-12791.

        13.W hiletheGovernm entalzd the Courtrecognized theneed forççtmprecedented

     transparency,''the Governmentfiled aheavily redacted m emorandllm andheavily redacted

     Am davit.(D.E.102-1,102-2.)AstothekansparencythattheCourtand Governmentindicated


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     wasrequired,thoseredacted docum entsraised m orequestionsthan itprovided answers.Assuch,

     underthecircllmstances,theGovernmenthasfailedinitsbtlrdentojustifykeepingtherecords
     redacted asfled,orany otherûçrecords''orGûpapers''sealed.

 '      14.ltappenringtheDistrictCourt'sdecisionts)asûTinal''forpurposeofan appeal,and
 :
     wllile initially therewerem ultiple expediatedpleadingsfiled in theDistrictCourtby theM edia

     Intervenors,itappearing no otherparty ornon-party having taken an appeal,thetmdersigned

     seeksthisM otion to Intercede forPurpose ofTaking an Appealin orderto obtain accessto
                                   '
                                        .              . .
     tmredacted docllm ents,andtheunsenllng ofany rem mnl ngrecords.Even thisCourtrecognized

     tllism ovanthad arighttointervene.Accordingly,itappearsfurtherbdefm g wouldnotbe

     required,tmtilan Appellatebriefing schedule.

        15.W hiletllism ovanthmsan appealpendingbeforetheCotu'
                                                             tofAppealsfortheEleventh

     Circuit,thatincluded aM otion foran Expedited Appeal,andwhilethism ovanthasakeady filed

     a briefin thatappeal,theAppellate briefing schedtllesuggeststhatAppealwillnotberesolved

     beforethetimeto takean appealf'
                                   rom theDistrictCourthasexpired.Accordingly,M ovant

     requestsLeaveto lntervenetoTakean Appeal,and to filethesepleadingsasconforming to the

 ' RulesofCourt.
 I
 J
        August30,2022            Respectfully subm itted,
                                 /s/M ichaelS.Barth
!
;
l                                M ichaels Bsrth,Pro se
                                           .

:                                P.O .B 0x 832
                                 FarHills,N ew Jersey 07931




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                                    REQUEST FOR IIEARING

     PursuanttoLocalRule7.10942),itappenringoralrgumentsarellnnecessary,asnoother
  M otion to Intervene w asheard on oralanzgm ents.


                    CERTIFICATE OF COM PLIANICE W ITH RULE 7.1(a)(3)
         Thelm dersigned respectfully requeststhatthe Courtwaivethisrequirementconsidedng

  theGovernmentand theCourthasalready agreed thePublichasa rightto Intervenein tllis

  m atter.

                                  CERTIFICA TE O F SERV ICE
         IHEREBY CERTIFY thaton August30,2022,thisdocum entwastransm itted to the

  Clerk'sOY ceviaExpressM ailEl449 275 783 US;andasresult,counselto be notified

  electronically.

  August30,2022               Respectfully submitted,
                              /s/M ichaelS.Barth
                              M ichaelS.Barth,Pro Se
                              P.O .B ox 832
                              FarHills,New Jersey 07931




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